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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-01425-DDD-MEH

   THE ESTATE OF JON L. BOGUE, an Estate of a Deceased Individual, and
   VICKI L. McCORKLE, the Executrix of the Estate of Jon L. Bogue,

          Plaintiffs,

   v.

   PATRICK S. ADAMS, an Individual,
   SHARON E. ADAMS, an Individual,
   JON ALAN FAVRE, an Individual,
   SINH T. LY, an Individual,
   RICHARD J. PRATI, SR., an Individual,
   CHOICE INVESTMENT MANAGEMENT, LLC, a Colorado Limited Liability Company,
   CHOICE CAPITAL MANAGEMENT, LLC, a Colorado Limited Liability Company,
   CIM SECURITIES, LLC, a Colorado Limited Liability Company, and
   PVG ASSET MANAGEMENT CORPORATION, a Colorado Corporation.

          Defendants.


                         PARTIES’ JOINT STATUS REPORT
   ______________________________________________________________________________

          Plaintiffs, The Estate of Jon L. Bogue, and Vicki L. McCorkle, in her capacity as the

   Executrix of the Estate (collectively “Plaintiffs”) and Defendants Patrick S. Adams, Sharon E.

   Adams, Sinh T. Ly, Richard J. Prati, Sr., Choice Investment Management, LLC, Choice Capital

   Management, LLC, CIM Securities, LLC, PVG Asset Management Corporation, and John Alan

   Favre (collectively “Parties”), hereby submit their Joint Status Report as ordered by the Court’s

   April 5, 2021 Order [Dkt. No. 229].

          The Court’s Order directs “on or before April 19, 2021, the parties shall file a Joint Status

   Report not to exceed 1,400 words, identifying (1) the prospects for settlement on Defendants’
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   remaining counterclaim; (2) three mutually agreeable alternative dates for trial to commence in

   October or November 2021, and the anticipated length of trial; and (3) any other issues the

   parties wish to bring to the courts attention.

            The Parties have begun discussions about resolving the remaining counterclaim in this

   case but have yet to reach an agreement. If an agreement is reached, the Parties will alert the

   Court.

            The Parties are available for trial starting October 11 and November 1 and 8.

            Plaintiffs wish to bring to the Court’s attention that, of the four motions the District Court

   ruled upon in the Order, they are presently working to complete briefing for a Motion for Relief

   Pursuant to Fed. R. Civ. P. 60(b) as to (a) the Adams Defendants’ Rule 72(b) Objection to

   Magistrate Recommendation [Dkt. No. 226]; (b) Defendants’ Motion for Summary Judgment

   and Brief in Support [Dkt. No. 129]; and (c) the Adams Defendants’ Motion for Summary

   Judgment on Counterclaim for Declaratory Judgment [Dkt. No. 185]. However, given Plaintiffs’

   counsel has trial commencing in Arapahoe County, Colorado, District Court, on April 26, 2021,

   Plaintiffs may need to seek additional time from the Court within which to file the foregoing

   motion.

            WHEREFORE, the Parties respectfully submit the requested Joint Status Report.

            DATED this 19th day of April, 2021.




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   s/ James Nicholas Thomaidis                         s/ Stephen E. Csajaghy
   James Nicholas Thomaidis                            Stephen E. Csajaghy
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   capacity as the Executrix of the Estate of          marisa@cclawcolorado.com
   Jon L. Bogue                                        Attorney for Defendants Patrick S. Adams,
                                                       Sharon E. Adams, Sinh T. Ly, Richard J.
                                                       Prati, Sr., Joseph N. Pecoraro, Jr., Choice
                                                       Investment Management, LLC, Choice
                                                       Capital Management, LLC, CIM Securities,
                                                       LLC and PVG Asset Management
                                                       Corporation

                                                       s/ Jeffrey Thomas
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of April, 2021, I served the foregoing PARTIES’
   JOINT STATUS REPORT via electronic mail on the following counsel:



   James Nicholas Thomaidis                          Jeffrey R. Thomas
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   Counsel for Plaintiffs                            Counsel for Defendant John Alan Favre




                                                     Trish Schart
                                                     s/Trish Schart




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